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                              UNITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO



MALLISA JACKSON,                                    Case No.: 1:18-CV-00534

                                                    COMPLAINT
                     Plaintiff,
       vs.

AUTOMATED ACCOUNTS, INC

                     Defendant.

                                                    DEMAND FOR JURY TRIAL


       COMES NOW, Plaintiff Mallisa Jackson, by and through her counsel of record, Barkley

B. Smith of Barkley Smith Law, PLLC and allege her causes of action against Defendant as

follows:

                                      INTRODUCTION

   1. This is an action for damages brought by an individual consumer for violations of the

       Fair Debt Collections Practices Act, 15 USC § 1692 et. Seq. (“FDCPA”), which prohibits

       debt collectors from engaging in abusive, deceptive, and unfair practices.
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2. Plaintiff demands a trial by jury on all issues so triable.

                                 JURISDICTION AND VENUE

3. This Court has jurisdiction pursuant to 15 USC § 1692k (d) because the illicit collection

   activity was directed at Plaintiff in Canyon County, Idaho and venue is appropriate for the

   same reason.

                                             PARTIES

4. Plaintiff is a natural person currently residing in Canyon County, Idaho.

5. Plaintiff is a “consumer” within the meaning of the FDCPA, 15 U.S.C. § 1692a(3).

6. The debt Ms. Jackson allegedly owes arises out of a personal, family, or household

   transaction(s).

7. Specifically, Ms. Garcia believes the debt is related to an overdraft fee.

8. Automated Accounts, Inc. is a Washington corporation in the business of collecting debts,

   with its corporate address as 430 W Sharp Ave, Spokane, WA 99201 and has a designated

   registered agent: Kim Cooper, 1203 N Cherrywood Dr., Couer D'Alene, ID 83814.

9. Defendant is engaged in the collection of debts from consumers using the mail and

   telephone. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

   1692a(6).

                                   GENERAL ALLEGATIONS

10. Defendant's collection activity of which Plaintiff complains occurred within the previous

   twelve (12) months.

11. In July 2018, Ms. Jackson reviewed her credit report and noticed several accounts she

   was not familiar with.

12. On August 9, 2018, Ms Jackson called Defendant to inquire about an account Defendant
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   was reporting on her credit report.

13. A representative for Defendant answered named "Jennifer". The representative failed to

   notify Ms. Jackson that this communication was with a debt collector or that this

   communication was in relation to the collection of a debt and any information obtained

   would be used for that purpose.

14. Jennifer then told Ms. Jackson she would transfer the call to an account manager named

   "Michael" which she subsequently did.

15. Upon receiving the transferred call, the representative failed to notify Ms. Jackson that he

   was a debt collector, worked for a debt collector or that the communication was a

   communication in relation to the collection of a debt and any information obtained would

   be used for that purpose.

16. At some point during the phone call Ms. Jackson inquired if the representative was a debt

   collector which he confirmed he was.

17. Ms. Jackson asked the representative several questions about the account to gain

   information.

18. During the phone call, Ms. Jackson notified Defendant's representative that she wanted to

   dispute the debt because the amount seemed to high.

19. At that point the representative told Ms. Jackson there was nothing she could dispute

   because the debt was valid.

                          COUNT I: VIOLATION THE OF FDCPA

20. Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

21. Defendant had actual knowledge that Ms. Jackson did in fact dispute the debt in question

   because she believed the amount was inaccurate.
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22. Instead of ending the phone call or choosing a separate course of action, Defendant told

   Ms. Jackson there was nothing to dispute because the debt was valid.

23. Defendant's conduct directly violated Mr. Jackson's dispute rights under 15 U.S.C.

   §1692g(a)(3) by stating there was nothing she could dispute because the debt was valid.

                           COUNT II: VIOLATION THE OF FDCPA

24. Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

25. Defendant had actual knowledge that Ms. Jackson did in fact dispute the debt in question

   because she believed the amount was inaccurate.

26. Defendant's representative mislead Mr. Jackson by stating that there was nothing she

   could dispute which is false.

27. Defendant's conduct is in direct violation of 15 U.S.C. 1692e because the statements were

   false and misleading.

                           COUNT III: VIOLATION THE OF FDCPA

28. Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

29. Defendant had actual knowledge that it is in the business of collecting debts and that Ms.

   Jackson was calling in relation to a debt which it was attempting to collect.

30. Defendant failed to notify Ms. Jackson that it was a debt collector attempting to collect a

   debt and any information obtained would be used for that purpose.

31. Defendant's conduct directly violated 15 U.S.C. 1692e(11) because defendant failed to

   provide the required disclosures.

           WHEREFORE, Plaintiff respectfully requests that judgment be entered against

   Defendant as follows:

           A.      Judgment that Defendant’s conduct violated the FDCPA;
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   B.    Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);

   C.    Release of the alleged debt;

   D.    Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

   E.    Reasonable attorneys' fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).




                                        Respectfully submitted by,


                                        /s/_Barkley B. Smith________________
                                        BARKLEY B. SMITH
                                        Barkley Smith Law, PLLC
